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                            Exhibit 21
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                                                                         Ex. 21 / P. 01
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             WHOIS BETA


     iphoneporntube.com                            Lookup


Provide Feedback



   Showing results for: IPHONEPORNTUBE.COM
   Original Query: iphoneporntube.com



     Raw WHOIS Record

     NOTICE AND TERMS OF USE: The data in WEBMASTERS.COM's WHOIS
     database is provided for
     information purposes only, and its accuracy is not
     guaranteed. By submitting a WHOIS
     query, you agree to abide by the following terms of use:
     You agree that you may use this
     Data only for lawful purposes and that under no
     circumstances will you use this Data to:
     (1) allow, enable, or otherwise support the transmission of
     mass unsolicited, commercial
     advertising or solicitations via e-mail, telephone, or fax;
     or (2) enable high volume,
     automated, electronic processes for the purpose of re-
     transmitting the WHOIS data.

     *** The registrant below has elected to keep their contact
     information private. ***

     Registrant:
        Account Privacy
        4465 W. Gandy Blvd., Suite 801
        Tampa, FL 33611
        US

         Domain Name: IPHONEPORNTUBE.COM
                                                                                     Ex. 21 / P. 02
     Case 3:13-cv-01045-SI   Document 136-3   Filed 07/22/14   Page 4 of 60
   Administrative Contact:
      Private Registration
proxy.iphoneporntube.com@accountprivacy.com
      Account Privacy
      4465 W. Gandy Blvd., Suite 801
      Tampa, FL 33611
      US
      +1.8138378000 FAX: +1.8138378900

   Technical Contact:
      Private Registration
proxy.iphoneporntube.com@accountprivacy.com
      Account Privacy
      4465 W. Gandy Blvd., Suite 801
      Tampa, FL 33611
      US
      +1.8138378000 FAX: +1.8138378900

   Billing Contact:
      Private Registration
proxy.iphoneporntube.com@accountprivacy.com
      Account Privacy
      4465 W. Gandy Blvd., Suite 801
      Tampa, FL 33611
      US
      +1.8138378000 FAX: +1.8138378900

   Record created on 14-Aug-2013
   Record expires on 14-Aug-2015
   Record updated on 07-Jan-2014 13:36:47 EST
   Database last updated on 17-Jul-2014 19:25:26 EST

   Domain servers in listed order:

   NS73.WEBMASTERS.COM             66.230.196.127
   NS74.WEBMASTERS.COM             64.156.26.71

To prevent fraudulent transfers, the above domain name has
been LOCKED at the registry
level. Any request to transfer this domain name to a
different owner or registrar will
require a signed, notarized authorization letter which will
be verified by telephone
with the current registrant prior to approval.

-----------------------------------------------------------
------------------
Get a free domain name with hosting at WEBMASTERS.COM for
only $9.95 a month!
-----------------------------------------------------------
                                                       Ex. 21 / P. 03
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    Submit a Complaint for WHOIS
    WHOIS Inaccuracy Complaint Form
    WHOIS Service Complaint Form

    WHOIS Compliance FAQs



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and further agree not to use this data (i) to allow, enable, or otherwise support the transmission by
email, telephone, or facsimile of mass unsolicited, commercial advertising, or (ii) to enable high
volume, automated, electronic processes to collect or compile this data for any purpose,
including without limitation mining this data for your own personal or commercial purposes.
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these terms of use. ICANN reserves the right to modify these terms at any time. By submitting a
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                                                                                          Ex. 21 / P. 04
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                            Exhibit 22
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              WHOIS BETA


     jokerporntube.net                             Lookup


Provide Feedback



   Showing results for: jokerporntube.net
   Original Query: jokerporntube.net




     Contact Information
     Registrant Contact
     Name: Domain Administrator
     Organization: See PrivacyGuardian.org
     Mailing Address: , Phoenix AZ 85016 US
     Phone: 347-871-7726
     Ext:
     Fax:
     Fax Ext:
     Email:pw-62214c0856dac1027ba41c43265e7ca2@privacyguardian.org

     Admin Contact
     Name: Domain Administrator
     Organization: See PrivacyGuardian.org
     Mailing Address: , Phoenix AZ 85016 US
     Phone: 347-871-7726
     Ext:
     Fax:
     Fax Ext:
     Email:pw-62214c0856dac1027ba41c43265e7ca2@privacyguardian.org

     Tech Contact
     Name: Domain Administrator                                                      Ex. 22 / P. 02
       Case 3:13-cv-01045-SI    Document 136-3   Filed 07/22/14   Page 9 of 60
Organization: See PrivacyGuardian.org
Mailing Address: , Phoenix AZ 85016 US
Phone: 347-871-7726
Ext:
Fax:
Fax Ext:
Email:pw-62214c0856dac1027ba41c43265e7ca2@privacyguardian.org




Registrar
WHOIS Server:
URL:
Registrar:
IANA ID:
Abuse Contact Email:
Abuse Contact Phone:




Status




Important Dates
Updated Date:
Created Date:
Registration Expiration Date:




Name Servers
NS1.DNSOWL.COM
NS2.DNSOWL.COM
NS3.DNSOWL.COM

                                                                                 Ex. 22 / P. 03
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Raw WHOIS Record

NOTICE AND TERMS OF USE: You are not authorized to access
or query our WHOIS
database through the use of high-volume, automated,
electronic processes. The
Data in our WHOIS database is provided for information
purposes only, and to
assist persons in obtaining information about or related to
a domain name
registration record. We do not guarantee its accuracy. By
submitting a WHOIS
query, you agree to abide by the following terms of use:
You agree that you may
use this Data only for lawful purposes and that under no
circumstances will you
use this Data to: (1) allow, enable, or otherwise support
the transmission of
mass unsolicited, commercial advertising or solicitations
via e-mail, telephone,
or facsimile; or (2) enable high volume, automated,
electronic processes that
apply to us (or our computer systems). The compilation,
repackaging,
dissemination or other use of this Data is expressly
prohibited without our
prior written consent. We reserve the right to terminate
your access to the
WHOIS database at our sole discretion, including without
limitation, for
excessive querying of the WHOIS database or for failure to
otherwise abide by
this policy. We reserve the right to modify these terms at
any time.

Domains - cheap, easy, and secure at NameSilo.com

http://www.namesilo.com


Domain Name: jokerporntube.net
Created On: 2013-12-16
Expiration Date: 2014-12-16


Name Server: NS1.DNSOWL.COM
Name Server: NS2.DNSOWL.COM
Name Server: NS3.DNSOWL.COM
                                                                          Ex. 22 / P. 04
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Registrant Name: Domain Administrator
Registrant Organization: See PrivacyGuardian.org
Registrant Street1: 1928 E. Highland Ave. Ste F104
Registrant Street2: PMB# 255
Registrant City: Phoenix
Registrant State/Province: AZ
Registrant Postal Code: 85016
Registrant Country: US
Registrant Phone: 347-871-7726
Registrant Email: pw-
62214c0856dac1027ba41c43265e7ca2@privacyguardian.org


Admin Name: Domain Administrator
Admin Organization: See PrivacyGuardian.org
Admin Street1: 1928 E. Highland Ave. Ste F104
Admin Street2: PMB# 255
Admin City: Phoenix
Admin State/Province: AZ
Admin Postal Code: 85016
Admin Country: US
Admin Phone: 347-871-7726
Admin Email: pw-
62214c0856dac1027ba41c43265e7ca2@privacyguardian.org


Billing Name: Domain Administrator
Billing Organization: See PrivacyGuardian.org
Billing Street1: 1928 E. Highland Ave. Ste F104
Billing Street2: PMB# 255
Billing City: Phoenix
Billing State/Province: AZ
Billing Postal Code: 85016
Billing Country: US
Billing Phone: 347-871-7726
Billing Email: pw-
62214c0856dac1027ba41c43265e7ca2@privacyguardian.org


Tech Name: Domain Administrator
Tech Organization: See PrivacyGuardian.org
Tech Street1: 1928 E. Highland Ave. Ste F104
Tech Street2: PMB# 255
Tech City: Phoenix
Tech State/Province: AZ
Tech Postal Code: 85016
Tech Country: US
Tech Phone: 347-871-7726
Tech Email: pw-                                                           Ex. 22 / P. 05
62214c0856dac1027ba41c43265e7ca2@privacyguardian.org
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       Register your domain now at www.NameSilo.com - Domains.
       Cheap, Fast and Secure




    Submit a Complaint for WHOIS
    WHOIS Inaccuracy Complaint Form
    WHOIS Service Complaint Form

    WHOIS Compliance FAQs



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shown for the sole purpose of assisting you in obtaining information about domain name
registration records and for no other purpose. You agree to use this data only for lawful purposes
and further agree not to use this data (i) to allow, enable, or otherwise support the transmission by
email, telephone, or facsimile of mass unsolicited, commercial advertising, or (ii) to enable high
volume, automated, electronic processes to collect or compile this data for any purpose,
including without limitation mining this data for your own personal or commercial purposes.
ICANN reserves the right to restrict or terminate your access to the data if you fail to abide by
these terms of use. ICANN reserves the right to modify these terms at any time. By submitting a
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             WHOIS BETA


     lastporntube.com                               Lookup


Provide Feedback



   Showing results for: LASTPORNTUBE.COM
   Original Query: lastporntube.com



     Raw WHOIS Record

     Domain Name: LASTPORNTUBE.COM

     Abuse email: abuse@ahnames.com

     Registrant:
         WhoisProtectService.net PROTECTSERVICE, LTD.
     lastporntube.com@whoisprotectservice.net
         27 Old Gloucester Street
         London WC1N 3AX
         United Kingdom
         +44.02074195061

     Registered Through:
         AHnames.com http://www.AHnames.com/

     Administrative Contact:
         WhoisProtectService.net PROTECTSERVICE, LTD.
     lastporntube.com@whoisprotectservice.net
         27 Old Gloucester Street
         London WC1N 3AX
         United Kingdom
         +44.02074195061

     Technical Contact:
         WhoisProtectService.net PROTECTSERVICE, LTD.
     lastporntube.com@whoisprotectservice.net                                       Ex. 23 / P. 02
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             27 Old Gloucester Street
             London WC1N 3AX
             United Kingdom
             +44.02074195061

       Billing Contact:
           WhoisProtectService.net PROTECTSERVICE, LTD.
       lastporntube.com@whoisprotectservice.net
           27 Old Gloucester Street
           London WC1N 3AX
           United Kingdom
           +44.02074195061

       Name Server: NS1.KWIKDNS.COM
       Name Server: NS2.KWIKDNS.COM

       Creation Date: 2011-07-14
       Expiration Date: 2015-07-14




    Submit a Complaint for WHOIS
    WHOIS Inaccuracy Complaint Form
    WHOIS Service Complaint Form

    WHOIS Compliance FAQs



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registration records and for no other purpose. You agree to use this data only for lawful purposes
and further agree not to use this data (i) to allow, enable, or otherwise support the transmission by
email, telephone, or facsimile of mass unsolicited, commercial advertising, or (ii) to enable high
volume, automated, electronic processes to collect or compile this data for any purpose,
including without limitation mining this data for your own personal or commercial purposes.
ICANN reserves the right to restrict or terminate your access to the data if you fail to abide by
these terms of use. ICANN reserves the right to modify these terms at any time. By submitting a
query, you agree to abide by these terms.

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             WHOIS BETA


     lineporntube.com                               Lookup


Provide Feedback



   Showing results for: LINEPORNTUBE.COM
   Original Query: lineporntube.com



     Raw WHOIS Record

     Domain Name: LINEPORNTUBE.COM

     Abuse email: abuse@ahnames.com

     Registrant:
         WhoisProtectService.net PROTECTSERVICE, LTD.
     lineporntube.com@whoisprotectservice.net
         27 Old Gloucester Street
         London WC1N 3AX
         United Kingdom
         +44.02074195061

     Registered Through:
         AHnames.com http://www.AHnames.com/

     Administrative Contact:
         WhoisProtectService.net PROTECTSERVICE, LTD.
     lineporntube.com@whoisprotectservice.net
         27 Old Gloucester Street
         London WC1N 3AX
         United Kingdom
         +44.02074195061

     Technical Contact:
         WhoisProtectService.net PROTECTSERVICE, LTD.
     lineporntube.com@whoisprotectservice.net                                       Ex. 24 / P. 02
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             27 Old Gloucester Street
             London WC1N 3AX
             United Kingdom
             +44.02074195061

       Billing Contact:
           WhoisProtectService.net PROTECTSERVICE, LTD.
       lineporntube.com@whoisprotectservice.net
           27 Old Gloucester Street
           London WC1N 3AX
           United Kingdom
           +44.02074195061

       Name Server: NS1.KWIKDNS.COM
       Name Server: NS2.KWIKDNS.COM

       Creation Date: 2011-07-14
       Expiration Date: 2015-07-14




    Submit a Complaint for WHOIS
    WHOIS Inaccuracy Complaint Form
    WHOIS Service Complaint Form

    WHOIS Compliance FAQs



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             WHOIS BETA


     maturewomanporntube.com                        Lookup


Provide Feedback



   Showing results for: MATUREWOMANPORNTUBE.COM
   Original Query: maturewomanporntube.com



     Raw WHOIS Record

     Domain Name: MATUREWOMANPORNTUBE.COM

     Abuse email: abuse@ahnames.com

     Registrant:
         WhoisProtectService.net PROTECTSERVICE, LTD.
     maturewomanporntube.com@whoisprotectservice.net
         27 Old Gloucester Street
         London WC1N 3AX
         United Kingdom
         +44.02074195061

     Registered Through:
         AHnames.com http://www.AHnames.com/

     Administrative Contact:
         WhoisProtectService.net PROTECTSERVICE, LTD.
     maturewomanporntube.com@whoisprotectservice.net
         27 Old Gloucester Street
         London WC1N 3AX
         United Kingdom
         +44.02074195061

     Technical Contact:
         WhoisProtectService.net PROTECTSERVICE, LTD.
     maturewomanporntube.com@whoisprotectservice.net                                Ex. 25 / P. 02
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             27 Old Gloucester Street
             London WC1N 3AX
             United Kingdom
             +44.02074195061

       Billing Contact:
           WhoisProtectService.net PROTECTSERVICE, LTD.
       maturewomanporntube.com@whoisprotectservice.net
           27 Old Gloucester Street
           London WC1N 3AX
           United Kingdom
           +44.02074195061

       Name Server: NS1.KWIKDNS.COM
       Name Server: NS2.KWIKDNS.COM

       Creation Date: 2013-01-17
       Expiration Date: 2015-01-17




    Submit a Complaint for WHOIS
    WHOIS Inaccuracy Complaint Form
    WHOIS Service Complaint Form

    WHOIS Compliance FAQs



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email, telephone, or facsimile of mass unsolicited, commercial advertising, or (ii) to enable high
volume, automated, electronic processes to collect or compile this data for any purpose,
including without limitation mining this data for your own personal or commercial purposes.
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these terms of use. ICANN reserves the right to modify these terms at any time. By submitting a
query, you agree to abide by these terms.

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                            Exhibit 26
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             WHOIS BETA


     mobilehdporntube.com                           Lookup


Provide Feedback



   Showing results for: MOBILEHDPORNTUBE.COM
   Original Query: mobilehdporntube.com




     Contact Information
     Registrant Contact
     Name: Domain Administrator
     Organization: Fundacion Private Whois
     Mailing Address: Attn: mobilehdporntube.com, Aptds. 0850-00056, Panama Zona
     15 PA
     Phone: +507.65967959
     Ext:
     Fax:
     Fax Ext:
     Email:522b13d792tur2vu@5225b4d0pi3627q9.privatewhois.net

     Admin Contact
     Name: Domain Administrator
     Organization: Fundacion Private Whois
     Mailing Address: Attn: mobilehdporntube.com, Aptds. 0850-00056, Panama Zona
     15 PA
     Phone: +507.65967959
     Ext:
     Fax:
     Fax Ext:
     Email:522b13d715wbsw3d@5225b4d0pi3627q9.privatewhois.net
                                                                                    Ex. 26 / P. 02
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Tech Contact
Name: Domain Administrator
Organization: Fundacion Private Whois
Mailing Address: Attn: mobilehdporntube.com, Aptds. 0850-00056, Panama Zona
15 PA
Phone: +507.65967959
Ext:
Fax:
Fax Ext:
Email:522b13d7rv3j6jt1@5225b4d0pi3627q9.privatewhois.net




Registrar
WHOIS Server: whois.internet.bs
URL: http://www.internetbs.net
Registrar: Internet.bs Corp.
IANA ID: 814
Abuse Contact Email:abuse@internet.bs
Abuse Contact Phone:




Status
Domain Status:clientTransferProhibited




Important Dates
Updated Date: 2012-10-24
Created Date:
Registration Expiration Date: 2015-06-25




Name Servers
ns-canada.topdns.com                                                        Ex. 26 / P. 03
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ns-uk.topdns.com
ns-usa.topdns.com




Raw WHOIS Record

Domain Name: MOBILEHDPORNTUBE.COM
Registry Domain ID: 1663721526_DOMAIN_COM-VRSN
Registrar WHOIS Server: whois.internet.bs
Registrar URL: http://www.internetbs.net
Updated Date: 2012-10-24T18:26:36Z
Creation Date: 2011-06-26T06:59:59Z
Registrar Registration Expiration Date: 2015-06-
25T23:18:57Z
Registrar: Internet.bs Corp.
Registrar IANA ID: 814
Registrar Abuse Contact Email: abuse@internet.bs
Registrar Abuse Contact Phone:
Reseller:
Domain Status: clientTransferProhibited
Registry Registrant ID:
Registrant Name: Domain Administrator
Registrant Organization: Fundacion Private Whois
Registrant Street: Attn: mobilehdporntube.com, Aptds. 0850-
00056
Registrant City: Panama
Registrant State/Province:
Registrant Postal Code: Zona 15
Registrant Country: PA
Registrant Phone: +507.65967959
Registrant Phone Ext:
Registrant Fax:
Registrant Fax Ext:
Registrant Email:
522b13d792tur2vu@5225b4d0pi3627q9.privatewhois.net
Registry Admin ID:
Admin Name: Domain Administrator
Admin Organization: Fundacion Private Whois
Admin Street: Attn: mobilehdporntube.com, Aptds. 0850-00056
Admin City: Panama
Admin State/Province:
Admin Postal Code: Zona 15
Admin Country: PA
Admin Phone: +507.65967959
Admin Phone Ext:
Admin Fax:
Admin Fax Ext:                                         Ex. 26 / P. 04
             Case 3:13-cv-01045-SI    Document 136-3     Filed 07/22/14   Page 30 of 60
       Admin Email:
       522b13d715wbsw3d@5225b4d0pi3627q9.privatewhois.net
       Registry Tech ID:
       Tech Name: Domain Administrator
       Tech Organization: Fundacion Private Whois
       Tech Street: Attn: mobilehdporntube.com, Aptds. 0850-00056
       Tech City: Panama
       Tech State/Province:
       Tech Postal Code: Zona 15
       Tech Country: PA
       Tech Phone: +507.65967959
       Tech Phone Ext:
       Tech Fax:
       Tech Fax Ext:
       Tech Email:
       522b13d7rv3j6jt1@5225b4d0pi3627q9.privatewhois.net
       Name Server: ns-canada.topdns.com
       Name Server: ns-uk.topdns.com
       Name Server: ns-usa.topdns.com
       DNSSEC: unsigned
       URL of the ICANN WHOIS Data Problem Reporting System:
       http://wdprs.internic.net/
       >>> Last update of WHOIS database: 2014-07-17T23:02:09Z <<<




    Submit a Complaint for WHOIS
    WHOIS Inaccuracy Complaint Form
    WHOIS Service Complaint Form

    WHOIS Compliance FAQs



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duration necessary to show these results in response to real-time queries.* These results are
shown for the sole purpose of assisting you in obtaining information about domain name
registration records and for no other purpose. You agree to use this data only for lawful purposes
and further agree not to use this data (i) to allow, enable, or otherwise support the transmission by
email, telephone, or facsimile of mass unsolicited, commercial advertising, or (ii) to enable high
volume, automated, electronic processes to collect or compile this data for any purpose,
including without limitation mining this data for your own personal or commercial purposes.
ICANN reserves the right to restrict or terminate your access to the data if you fail to abide by
these terms of use. ICANN reserves the right to modify these terms at any time. By submitting a
query, you agree to abide by these terms.
                                                                                       Ex. 26 / P. 05
              Case 3:13-cv-01045-SI    Document 136-3     Filed 07/22/14   Page 31 of 60
* There is one exception: ICANN acts as the registry operator for the .int TLD, and in that
capacity it does collect, generate, retain and store information regarding registrations in the .int
TLD.


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                                                                                        Ex. 26 / P. 06
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                            Exhibit 27
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                                                                      Ex. 27 / P. 01
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                   简体中文      English   Français   Русский    Español   ‫ﺍاﻟﻌﺭرﺑﻳﯾﺔ‬



             WHOIS BETA


     naijaporntube.com                              Lookup


Provide Feedback



   Showing results for: NAIJAPORNTUBE.COM
   Original Query: naijaporntube.com




     Contact Information
     Registrant Contact
     Name: Registration Private
     Organization: Domains By Proxy, LLC
     Mailing Address: DomainsByProxy.com, Scottsdale Arizona 85260 United States
     Phone: +1.4806242599
     Ext:
     Fax: +1.4806242598
     Fax Ext:
     Email:NAIJAPORNTUBE.COM@domainsbyproxy.com

     Admin Contact
     Name: Registration Private
     Organization: Domains By Proxy, LLC
     Mailing Address: DomainsByProxy.com, Scottsdale Arizona 85260 United States
     Phone: +1.4806242599
     Ext:
     Fax: +1.4806242598
     Fax Ext:
     Email:NAIJAPORNTUBE.COM@domainsbyproxy.com

     Tech Contact
     Name: Registration Private                                                     Ex. 27 / P. 02
      Case 3:13-cv-01045-SI   Document 136-3   Filed 07/22/14   Page 35 of 60
Organization: Domains By Proxy, LLC
Mailing Address: DomainsByProxy.com, Scottsdale Arizona 85260 United States
Phone: +1.4806242599
Ext:
Fax: +1.4806242598
Fax Ext:
Email:NAIJAPORNTUBE.COM@domainsbyproxy.com




Registrar
WHOIS Server: whois.godaddy.com
URL: http://www.godaddy.com
Registrar: GoDaddy.com, LLC
IANA ID: 146
Abuse Contact Email:abuse@godaddy.com
Abuse Contact Phone: +1.480-624-2505




Status
Domain Status:clientTransferProhibited
Domain Status:clientUpdateProhibited
Domain Status:clientRenewProhibited
Domain Status:clientDeleteProhibited




Important Dates
Updated Date: 2014-04-02
Created Date:
Registration Expiration Date: 2015-04-27




Name Servers
NS71.DOMAINCONTROL.COM                                                      Ex. 27 / P. 03
     Case 3:13-cv-01045-SI   Document 136-3   Filed 07/22/14   Page 36 of 60
NS72.DOMAINCONTROL.COM




Raw WHOIS Record

Domain Name: NAIJAPORNTUBE.COM
Registry Domain ID: 1653171108_DOMAIN_COM-VRSN
Registrar WHOIS Server: whois.godaddy.com
Registrar URL: http://www.godaddy.com
Update Date: 2014-04-02 16:28:08
Creation Date: 2011-04-27 12:30:12
Registrar Registration Expiration Date: 2015-04-27 12:30:12
Registrar: GoDaddy.com, LLC
Registrar IANA ID: 146
Registrar Abuse Contact Email: abuse@godaddy.com
Registrar Abuse Contact Phone: +1.480-624-2505
Domain Status: clientTransferProhibited
Domain Status: clientUpdateProhibited
Domain Status: clientRenewProhibited
Domain Status: clientDeleteProhibited
Registry Registrant ID:
Registrant Name: Registration Private
Registrant Organization: Domains By Proxy, LLC
Registrant Street: DomainsByProxy.com
Registrant Street: 14747 N Northsight Blvd Suite 111, PMB
309
Registrant City: Scottsdale
Registrant State/Province: Arizona
Registrant Postal Code: 85260
Registrant Country: United States
Registrant Phone: +1.4806242599
Registrant Phone Ext:
Registrant Fax: +1.4806242598
Registrant Fax Ext:
Registrant Email: NAIJAPORNTUBE.COM@domainsbyproxy.com
Registry Admin ID:
Admin Name: Registration Private
Admin Organization: Domains By Proxy, LLC
Admin Street: DomainsByProxy.com
Admin Street: 14747 N Northsight Blvd Suite 111, PMB 309
Admin City: Scottsdale
Admin State/Province: Arizona
Admin Postal Code: 85260
Admin Country: United States
Admin Phone: +1.4806242599
Admin Phone Ext:
Admin Fax: +1.4806242598                               Ex. 27 / P. 04
Admin Fax Ext:
     Case 3:13-cv-01045-SI   Document 136-3   Filed 07/22/14   Page 37 of 60
Admin Email: NAIJAPORNTUBE.COM@domainsbyproxy.com
Registry Tech ID:
Tech Name: Registration Private
Tech Organization: Domains By Proxy, LLC
Tech Street: DomainsByProxy.com
Tech Street: 14747 N Northsight Blvd Suite 111, PMB 309
Tech City: Scottsdale
Tech State/Province: Arizona
Tech Postal Code: 85260
Tech Country: United States
Tech Phone: +1.4806242599
Tech Phone Ext:
Tech Fax: +1.4806242598
Tech Fax Ext:
Tech Email: NAIJAPORNTUBE.COM@domainsbyproxy.com
Name Server: NS71.DOMAINCONTROL.COM
Name Server: NS72.DOMAINCONTROL.COM
DNSSEC: unsigned
URL of the ICANN WHOIS Data Problem Reporting System:
http://wdprs.internic.net/
Last update of WHOIS database: 2014-07-17T23:00:00Z

The data contained in GoDaddy.com, LLC's WhoIs database,
while believed by the company to be reliable, is provided
"as is"
with no guarantee or warranties regarding its accuracy.
This
information is provided for the sole purpose of assisting
you
in obtaining information about domain name registration
records.
Any use of this data for any other purpose is expressly
forbidden without the prior written
permission of GoDaddy.com, LLC. By submitting an inquiry,
you agree to these terms of usage and limitations of
warranty. In particular,
you agree not to use this data to allow, enable, or
otherwise make possible,
dissemination or collection of this data, in part or in its
entirety, for any
purpose, such as the transmission of unsolicited
advertising and
and solicitations of any kind, including spam. You further
agree
not to use this data to enable high volume, automated or
robotic electronic
processes designed to collect or compile this data for any
purpose,
including mining this data for your own personal or
commercial purposes.                                   Ex. 27 / P. 05
        Case 3:13-cv-01045-SI   Document 136-3   Filed 07/22/14   Page 38 of 60
  Please note: the registrant of the domain name is specified
  in the "registrant" section. In most cases, GoDaddy.com,
  LLC
  is not the registrant of domain names listed in this
  database.



Showing results for: NAIJAPORNTUBE.COM
Original Query: naijaporntube.com




  Contact Information
  Registrant Contact
  Name: Registration Private
  Organization: Domains By Proxy, LLC
  Mailing Address: DomainsByProxy.com, Scottsdale Arizona 85260 United States
  Phone: +1.4806242599
  Ext:
  Fax: +1.4806242598
  Fax Ext:
  Email:NAIJAPORNTUBE.COM@domainsbyproxy.com

  Admin Contact
  Name: Registration Private
  Organization: Domains By Proxy, LLC
  Mailing Address: DomainsByProxy.com, Scottsdale Arizona 85260 United States
  Phone: +1.4806242599
  Ext:
  Fax: +1.4806242598
  Fax Ext:
  Email:NAIJAPORNTUBE.COM@domainsbyproxy.com
  Tech Contact
  Name: Registration Private
  Organization: Domains By Proxy, LLC
  Mailing Address: DomainsByProxy.com, Scottsdale Arizona 85260 United States
  Phone: +1.4806242599
  Ext:
  Fax: +1.4806242598
  Fax Ext:                                                               Ex. 27 / P. 06
      Case 3:13-cv-01045-SI   Document 136-3   Filed 07/22/14   Page 39 of 60
Email:NAIJAPORNTUBE.COM@domainsbyproxy.com




Registrar
WHOIS Server: whois.godaddy.com
URL: http://www.godaddy.com
Registrar: GoDaddy.com, LLC
IANA ID: 146
Abuse Contact Email:abuse@godaddy.com
Abuse Contact Phone: +1.480-624-2505




Status
Domain Status:clientTransferProhibited
Domain Status:clientUpdateProhibited
Domain Status:clientRenewProhibited
Domain Status:clientDeleteProhibited




Important Dates
Updated Date: 2014-04-02
Created Date:
Registration Expiration Date: 2015-04-27




Name Servers
NS71.DOMAINCONTROL.COM
NS72.DOMAINCONTROL.COM




Raw WHOIS Record                                                            Ex. 27 / P. 07
     Case 3:13-cv-01045-SI   Document 136-3   Filed 07/22/14   Page 40 of 60
Domain Name: NAIJAPORNTUBE.COM
Registry Domain ID: 1653171108_DOMAIN_COM-VRSN
Registrar WHOIS Server: whois.godaddy.com
Registrar URL: http://www.godaddy.com
Update Date: 2014-04-02 16:28:08
Creation Date: 2011-04-27 12:30:12
Registrar Registration Expiration Date: 2015-04-27 12:30:12
Registrar: GoDaddy.com, LLC
Registrar IANA ID: 146
Registrar Abuse Contact Email: abuse@godaddy.com
Registrar Abuse Contact Phone: +1.480-624-2505
Domain Status: clientTransferProhibited
Domain Status: clientUpdateProhibited
Domain Status: clientRenewProhibited
Domain Status: clientDeleteProhibited
Registry Registrant ID:
Registrant Name: Registration Private
Registrant Organization: Domains By Proxy, LLC
Registrant Street: DomainsByProxy.com
Registrant Street: 14747 N Northsight Blvd Suite 111, PMB
309
Registrant City: Scottsdale
Registrant State/Province: Arizona
Registrant Postal Code: 85260
Registrant Country: United States
Registrant Phone: +1.4806242599
Registrant Phone Ext:
Registrant Fax: +1.4806242598
Registrant Fax Ext:
Registrant Email: NAIJAPORNTUBE.COM@domainsbyproxy.com
Registry Admin ID:
Admin Name: Registration Private
Admin Organization: Domains By Proxy, LLC
Admin Street: DomainsByProxy.com
Admin Street: 14747 N Northsight Blvd Suite 111, PMB 309
Admin City: Scottsdale
Admin State/Province: Arizona
Admin Postal Code: 85260
Admin Country: United States
Admin Phone: +1.4806242599
Admin Phone Ext:
Admin Fax: +1.4806242598
Admin Fax Ext:
Admin Email: NAIJAPORNTUBE.COM@domainsbyproxy.com
Registry Tech ID:
Tech Name: Registration Private
Tech Organization: Domains By Proxy, LLC
Tech Street: DomainsByProxy.com
Tech Street: 14747 N Northsight Blvd Suite 111, PMB 309
Tech City: Scottsdale                                  Ex. 27 / P. 08
Tech State/Province: Arizona
    Case 3:13-cv-01045-SI   Document 136-3   Filed 07/22/14   Page 41 of 60
Tech Postal Code: 85260
Tech Country: United States
Tech Phone: +1.4806242599
Tech Phone Ext:
Tech Fax: +1.4806242598
Tech Fax Ext:
Tech Email: NAIJAPORNTUBE.COM@domainsbyproxy.com
Name Server: NS71.DOMAINCONTROL.COM
Name Server: NS72.DOMAINCONTROL.COM
DNSSEC: unsigned
URL of the ICANN WHOIS Data Problem Reporting System:
http://wdprs.internic.net/
Last update of WHOIS database: 2014-07-17T23:00:00Z

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while believed by the company to be reliable, is provided
"as is"
with no guarantee or warranties regarding its accuracy.
This
information is provided for the sole purpose of assisting
you
in obtaining information about domain name registration
records.
Any use of this data for any other purpose is expressly
forbidden without the prior written
permission of GoDaddy.com, LLC. By submitting an inquiry,
you agree to these terms of usage and limitations of
warranty. In particular,
you agree not to use this data to allow, enable, or
otherwise make possible,
dissemination or collection of this data, in part or in its
entirety, for any
purpose, such as the transmission of unsolicited
advertising and
and solicitations of any kind, including spam. You further
agree
not to use this data to enable high volume, automated or
robotic electronic
processes designed to collect or compile this data for any
purpose,
including mining this data for your own personal or
commercial purposes.

Please note: the registrant of the domain name is specified
in the "registrant" section. In most cases, GoDaddy.com,
LLC
is not the registrant of domain names listed in this
database.

                                                                          Ex. 27 / P. 09
              Case 3:13-cv-01045-SI    Document 136-3     Filed 07/22/14   Page 42 of 60
    Submit a Complaint for WHOIS
    WHOIS Inaccuracy Complaint Form
    WHOIS Service Complaint Form

    WHOIS Compliance FAQs



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shown for the sole purpose of assisting you in obtaining information about domain name
registration records and for no other purpose. You agree to use this data only for lawful purposes
and further agree not to use this data (i) to allow, enable, or otherwise support the transmission by
email, telephone, or facsimile of mass unsolicited, commercial advertising, or (ii) to enable high
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ICANN reserves the right to restrict or terminate your access to the data if you fail to abide by
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query, you agree to abide by these terms.

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TLD.


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                                                                                        Ex. 27 / P. 10
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                            Exhibit 28
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                                                                      Ex. 28 / P. 01
           Case 3:13-cv-01045-SI   Document 136-3    Filed 07/22/14    Page 45 of 60

                   简体中文      English   Français   Русский    Español   ‫ﺍاﻟﻌﺭرﺑﻳﯾﺔ‬



             WHOIS BETA


     notaporntube.com                               Lookup


Provide Feedback



   Showing results for: notaporntube.com
   Original Query: notaporntube.com




     Contact Information
     Registrant Contact
     Name: Janeck Simon
     Organization:
     Mailing Address: Kalverbenden 64, Aachen 52066 DE
     Phone: +49.15779393263
     Ext:
     Fax:
     Fax Ext:
     Email:it-simon@web.de

     Admin Contact
     Name: Janeck Simon
     Organization:
     Mailing Address: Kalverbenden 64, Aachen 52066 DE
     Phone: +49.15779393263
     Ext:
     Fax:
     Fax Ext:
     Email:it-simon@web.de

     Tech Contact
     Name: Hostmaster Strato Rechenzentrum                                          Ex. 28 / P. 02
      Case 3:13-cv-01045-SI   Document 136-3   Filed 07/22/14   Page 46 of 60
Organization:
Mailing Address: Cronon AG Professional IT-Services, Karlsruhe 76131 DE
Phone: +49.72166320305
Ext:
Fax: +49.72166320303
Fax Ext:
Email:hostmaster@cronon-isp.net




Registrar
WHOIS Server:
URL: http://www.cronon.net
Registrar: Cronon AG
IANA ID: 141
Abuse Contact Email:abuse@strato.de
Abuse Contact Phone: +49.303001460




Status
Domain Status:OK




Important Dates
Updated Date: 2013-03-03
Created Date:
Registration Expiration Date: 2015-03-03




Name Servers
shades01.rzone.de
docks15.rzone.de

                                                                            Ex. 28 / P. 03
    Case 3:13-cv-01045-SI   Document 136-3   Filed 07/22/14   Page 47 of 60

Raw WHOIS Record

Domain Name: notaporntube.com
Registrar Whois Server: whois.cronon.net
Registrar URL: http://www.cronon.net
Updated Date: 2013-03-04T00:00:00Z
Creation Date: 2013-03-04T00:00:00Z
Registrar Registration Expiration Date: 2015-03-
04T00:00:00Z
Registrar: Cronon AG
Registrar IANA ID: 141
Registrar Abuse Contact Email: abuse@strato.de
Registrar Abuse Contact Phone: +49.303001460
Reseller:
Domain Status: OK
Registry Registrant ID: JS1601-XLINK
Registrant Name: Janeck Simon
Registrant Organization:
Registrant Street: Kalverbenden 64
Registrant City: Aachen
Registrant State/Province:
Registrant Postal Code: 52066
Registrant Country: DE
Registrant Phone: +49.15779393263
Registrant Phone Ext:
Registrant Fax:
Registrant Fax Ext:
Registrant Email: it-simon@web.de
Registry Admin ID: JS1601-XLINK
Admin Name: Janeck Simon
Admin Organization:
Admin Street: Kalverbenden 64
Admin City: Aachen
Admin State/Province:
Admin Postal Code: 52066
Admin Country: DE
Admin Phone: +49.15779393263
Admin Phone Ext:
Admin Fax:
Admin Fax Ext:
Admin Email: it-simon@web.de
Registry Tech ID: HSR4-XLINK
Tech Name: Hostmaster Strato Rechenzentrum
Tech Organization:
Tech Street: Cronon AG Professional IT-Services
Tech Street: Emmy-Noether-Str. 10
Tech City: Karlsruhe
Tech State/Province:
Tech Postal Code: 76131                                                   Ex. 28 / P. 04
              Case 3:13-cv-01045-SI    Document 136-3     Filed 07/22/14   Page 48 of 60
       Tech Country: DE
       Tech Phone: +49.72166320305
       Tech Phone Ext:
       Tech Fax: +49.72166320303
       Tech Fax Ext:
       Tech Email: hostmaster@cronon-isp.net
       Name Server: shades01.rzone.de
       Name Server: docks15.rzone.de
       DNSSEC:
       URL of the ICANN WHOIS Data Problem Reporting System:
       http://wdprs.internic.net/




    Submit a Complaint for WHOIS
    WHOIS Inaccuracy Complaint Form
    WHOIS Service Complaint Form

    WHOIS Compliance FAQs



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registration records and for no other purpose. You agree to use this data only for lawful purposes
and further agree not to use this data (i) to allow, enable, or otherwise support the transmission by
email, telephone, or facsimile of mass unsolicited, commercial advertising, or (ii) to enable high
volume, automated, electronic processes to collect or compile this data for any purpose,
including without limitation mining this data for your own personal or commercial purposes.
ICANN reserves the right to restrict or terminate your access to the data if you fail to abide by
these terms of use. ICANN reserves the right to modify these terms at any time. By submitting a
query, you agree to abide by these terms.

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capacity it does collect, generate, retain and store information regarding registrations in the .int
TLD.


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                                                                                        Ex. 28 / P. 05
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                            Exhibit 29
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                                                                      Ex. 29 / P. 01
           Case 3:13-cv-01045-SI    Document 136-3     Filed 07/22/14   Page 51 of 60

                    简体中文       English   Français   Русский   Español   ‫ﺍاﻟﻌﺭرﺑﻳﯾﺔ‬



             WHOIS BETA


     perfectporntube.com                             Lookup


Provide Feedback



   Showing results for: PERFECTPORNTUBE.COM
   Original Query: perfectporntube.com




     Contact Information
     Registrant Contact
     Name: Domain Admin
     Organization: Privacy Protection Service INC d/b/a PrivacyProtect.org
     Mailing Address: C/O ID#10760, PO Box 16 Note - Visit PrivacyProtect.org to
     contact the domain owner/operator Note - Visit PrivacyProtect.org to contact the
     domain owner/operator, Nobby Beach Queensland QLD 4218 AU
     Phone: +45.36946676
     Ext:
     Fax:
     Fax Ext:
     Email:contact@privacyprotect.org

     Admin Contact
     Name: Domain Admin
     Organization: Privacy Protection Service INC d/b/a PrivacyProtect.org
     Mailing Address: C/O ID#10760, PO Box 16 Note - Visit PrivacyProtect.org to
     contact the domain owner/operator Note - Visit PrivacyProtect.org to contact the
     domain owner/operator, Nobby Beach Queensland QLD 4218 AU
     Phone: +45.36946676
     Ext:
     Fax:
     Fax Ext:                                                                      Ex. 29 / P. 02
      Case 3:13-cv-01045-SI   Document 136-3    Filed 07/22/14   Page 52 of 60
Email:contact@privacyprotect.org

Tech Contact
Name: Domain Admin
Organization: Privacy Protection Service INC d/b/a PrivacyProtect.org
Mailing Address: C/O ID#10760, PO Box 16 Note - Visit PrivacyProtect.org to
contact the domain owner/operator Note - Visit PrivacyProtect.org to contact the
domain owner/operator, Nobby Beach Queensland QLD 4218 AU
Phone: +45.36946676
Ext:
Fax:
Fax Ext:
Email:contact@privacyprotect.org




Registrar
WHOIS Server: whois.publicdomainregistry.com
URL: www.publicdomainregistry.com
Registrar: PDR Ltd. d/b/a PublicDomainRegistry.com
IANA ID: 303
Abuse Contact Email:abuse-contact@publicdomainregistry.com
Abuse Contact Phone: +1-2013775952




Status
Domain Status:clientTransferProhibited




Important Dates
Updated Date: 2014-06-17
Created Date:
Registration Expiration Date: 2015-04-17




Name Servers                                                                 Ex. 29 / P. 03
      Case 3:13-cv-01045-SI   Document 136-3   Filed 07/22/14   Page 53 of 60

ns1.barnahosting.es
ns2.barnahosting.es




Raw WHOIS Record

Domain Name: PERFECTPORNTUBE.COM
Registry Domain ID:
Registrar WHOIS Server: whois.publicdomainregistry.com
Registrar URL: www.publicdomainregistry.com
Updated Date: 17-Jun-2014
Creation Date: 17-Apr-2014
Registrar Registration Expiration Date: 17-Apr-2015
Registrar: PDR Ltd. d/b/a PublicDomainRegistry.com
Registrar IANA ID: 303
Registrar Abuse Contact Email: abuse-
contact@publicdomainregistry.com
Registrar Abuse Contact Phone: +1-2013775952
Domain Status: clientTransferProhibited
Registry Registrant ID: PP-SP-001
Registrant Name: Domain Admin
Registrant Organization: Privacy Protection Service INC
d/b/a PrivacyProtect.org
Registrant Street: C/O ID#10760, PO Box 16 Note - Visit
PrivacyProtect.org to contact the domain owner/operator
Note - Visit PrivacyProtect.org to contact the domain
owner/operator
Registrant City: Nobby Beach
Registrant State/Province: Queensland
Registrant Postal Code: QLD 4218
Registrant Country: AU
Registrant Phone: +45.36946676
Registrant Phone Ext:
Registrant Fax:
Registrant Fax Ext:
Registrant Email: contact@privacyprotect.org
Registry Admin ID: PP-SP-001
Admin Name: Domain Admin
Admin Organization: Privacy Protection Service INC d/b/a
PrivacyProtect.org
Admin Street: C/O ID#10760, PO Box 16 Note - Visit
PrivacyProtect.org to contact the domain owner/operator
Note - Visit PrivacyProtect.org to contact the domain
owner/operator
Admin City: Nobby Beach
Admin State/Province: Queensland                       Ex. 29 / P. 04
Admin Postal Code: QLD 4218
     Case 3:13-cv-01045-SI   Document 136-3   Filed 07/22/14   Page 54 of 60
Admin Country: AU
Admin Phone: +45.36946676
Admin Phone Ext:
Admin Fax:
Admin Fax Ext:
Admin Email: contact@privacyprotect.org
Registry Tech ID: PP-SP-001
Tech Name: Domain Admin
Tech Organization: Privacy Protection Service INC d/b/a
PrivacyProtect.org
Tech Street: C/O ID#10760, PO Box 16 Note - Visit
PrivacyProtect.org to contact the domain owner/operator
Note - Visit PrivacyProtect.org to contact the domain
owner/operator
Tech City: Nobby Beach
Tech State/Province: Queensland
Tech Postal Code: QLD 4218
Tech Country: AU
Tech Phone: +45.36946676
Tech Phone Ext:
Tech Fax:
Tech Fax Ext:
Tech Email: contact@privacyprotect.org
Name Server: ns1.barnahosting.es
Name Server: ns2.barnahosting.es
DNSSEC:Unsigned
URL of the ICANN WHOIS Data Problem Reporting System:
http://wdprs.internic.net/
>>>Last update of WHOIS database: 2014-07-
17T23:31:20+0000Z<<<

Registration Service Provided By: BARNAHOSTING

PRIVACYPROTECT.ORG is providing privacy protection services
to this domain name to
protect the owner from spam and phishing attacks.
PrivacyProtect.org is not
responsible for any of the activities associated with this
domain name. If you wish
to report any abuse concerning the usage of this domain
name, you may do so at
http://privacyprotect.org/contact. We have a stringent
abuse policy and any
complaint will be actioned within a short period of time.

The data in this whois database is provided to you for
information purposes
only, that is, to assist you in obtaining information about
or related to a
domain name registration record. We make this information
                                                       Ex. 29 / P. 05
available "as is",
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       and do not guarantee its accuracy. By submitting a whois
       query, you agree
       that you will use this data only for lawful purposes and
       that, under no
       circumstances will you use this data to:
       (1) enable high volume, automated, electronic processes
       that stress or load
       this whois database system providing you this information;
       or
       (2) allow, enable, or otherwise support the transmission of
       mass unsolicited,
       commercial advertising or solicitations via direct mail,
       electronic mail, or
       by telephone.
       The compilation, repackaging, dissemination or other use of
       this data is
       expressly prohibited without prior written consent from us.
       The Registrar of
       record is PDR Ltd. d/b/a PublicDomainRegistry.com.
       We reserve the right to modify these terms at any time.
       By submitting this query, you agree to abide by these
       terms.




    Submit a Complaint for WHOIS
    WHOIS Inaccuracy Complaint Form
    WHOIS Service Complaint Form

    WHOIS Compliance FAQs



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All results shown are captured from registries and/or registrars and are framed in real-time.
ICANN does not generate, collect, retain or store the results shown other than for the transitory
duration necessary to show these results in response to real-time queries.* These results are
shown for the sole purpose of assisting you in obtaining information about domain name
registration records and for no other purpose. You agree to use this data only for lawful purposes
and further agree not to use this data (i) to allow, enable, or otherwise support the transmission by
email, telephone, or facsimile of mass unsolicited, commercial advertising, or (ii) to enable high
volume, automated, electronic processes to collect or compile this data for any purpose,
including without limitation mining this data for your own personal or commercial purposes.
ICANN reserves the right to restrict or terminate your access to the data if you fail to abide by
these terms of use. ICANN reserves the right to modify these terms at any time. By submitting a
query, you agree to abide by these terms.
                                                                                       Ex. 29 / P. 06
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* There is one exception: ICANN acts as the registry operator for the .int TLD, and in that
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                                                                                        Ex. 29 / P. 07
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                            Exhibit 30
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                                                                      Ex. 30 / P. 01
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                   简体中文      English   Français   Русский    Español   ‫ﺍاﻟﻌﺭرﺑﻳﯾﺔ‬



             WHOIS BETA


     pornporntube.com                               Lookup


Provide Feedback



   Showing results for: PORNPORNTUBE.COM
   Original Query: pornporntube.com



     Raw WHOIS Record

     Domain Name: PORNPORNTUBE.COM

     Abuse email: abuse@ahnames.com

     Registrant:
         WhoisProtectService.net PROTECTSERVICE, LTD.
     pornporntube.com@whoisprotectservice.net
         27 Old Gloucester Street
         London WC1N 3AX
         United Kingdom
         +44.02074195061

     Registered Through:
         AHnames.com http://www.AHnames.com/

     Administrative Contact:
         WhoisProtectService.net PROTECTSERVICE, LTD.
     pornporntube.com@whoisprotectservice.net
         27 Old Gloucester Street
         London WC1N 3AX
         United Kingdom
         +44.02074195061

     Technical Contact:
         WhoisProtectService.net PROTECTSERVICE, LTD.
     pornporntube.com@whoisprotectservice.net                                       Ex. 30 / P. 02
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             27 Old Gloucester Street
             London WC1N 3AX
             United Kingdom
             +44.02074195061

       Billing Contact:
           WhoisProtectService.net PROTECTSERVICE, LTD.
       pornporntube.com@whoisprotectservice.net
           27 Old Gloucester Street
           London WC1N 3AX
           United Kingdom
           +44.02074195061

       Name Server: NS2.REALVIDEOTUBE.COM
       Name Server: NS1.REALVIDEOTUBE.COM

       Creation Date: 2013-05-16
       Expiration Date: 2015-05-16




    Submit a Complaint for WHOIS
    WHOIS Inaccuracy Complaint Form
    WHOIS Service Complaint Form

    WHOIS Compliance FAQs



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and further agree not to use this data (i) to allow, enable, or otherwise support the transmission by
email, telephone, or facsimile of mass unsolicited, commercial advertising, or (ii) to enable high
volume, automated, electronic processes to collect or compile this data for any purpose,
including without limitation mining this data for your own personal or commercial purposes.
ICANN reserves the right to restrict or terminate your access to the data if you fail to abide by
these terms of use. ICANN reserves the right to modify these terms at any time. By submitting a
query, you agree to abide by these terms.

* There is one exception: ICANN acts as the registry operator for the .int TLD, and in that
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                                                                                        Ex. 30 / P. 03
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